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                          THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                  LUBBOCK DIVISION

VISTA BANK,                                      §
                                                 §
        Plaintiff,                               §
                                                 §
v.                                               §    Civil Case No. 5:18-cv-00204-C
                                                 §
FIRST BANCSHARES OF TEXAS, INC.,                 §
a Texas financial institution doing business     §
as FIRSTCAPITAL BANK OF TEXAS,                   §
N.A., BRAD BURGESS, and KENNETH                  §
L. BURGESS, JR.,                                 §
                                                 §
        Defendants.                              §


 MOTION TO DISMISS DEFENDANTS FIRST BANCSHARES OF TEXAS, INC. AND
                 FIRSTCAPITAL BANK OF TEXAS, N.A.

        The Defendants, First BancShares of Texas, Inc. and FirstCapital Bank of Texas, N.A.

(“FirstCapital Defendants”) file this Motion to Dismiss pursuant to Rule 12(b)(6) of the Federal

Rules of Civil Procedure for the reason that Plaintiff Vista Bank has failed to state a claim upon

which relief can be granted. Contemporaneous with the filing of the Motion, the FirstCapital

Defendants also filed their Brief in Support of Motion to Dismiss.

        WHEREFORE, Defendants First BancShares of Texas, Inc. and FirstCapital Bank of

Texas, N.A. request the Court to dismiss Plaintiff Vista Bank’s Original Complaint without leave

to amend and for other relief as the Court finds just and equitable.




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                                    Respectfully submitted,

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                                     /s/ Joel R. Hogue
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                                    BANCSHARES OF TEXAS, INC. AND
                                    FIRSTCAPITAL BANK OF TEXAS, N.A.




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                                CERTIFICATE OF SERVICE

        I hereby certify that on September 18, 2018, I electronically filed the foregoing document
with the clerk of court using the electronic filing system. The electronic filing system will send a
“Notice of Electronic Filing” to the following attorney(s) of record who have consented in
writing to accept this Notice as service of this document by electronic means:

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